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                            UNITED STATES DISTRICT COURT FOR
                               THE DISTRICT OF MARYLAND

United States of America                      *
                                              *       Case No.: 1:19-cr-00449
v.                                            *
                                              *
Kenneth Ravenell, et al.,                     *
                                              *
                Defendants.                   *
                                              *
*       *       *      *       *      *       *       *      *       *      *       *       *         *

                                      MOTION TO SEAL

        Mr. Kenneth Ravenell, by and through undersigned counsel, hereby respectfully moves

this Court for leave to file under seal Mr. Ravenell’s Reply in Support of the Motion for Disclosure

of the Government’s Presentation to the Grand Jury Due to Prosecutorial Misconduct and its

attached exhibit. Sealing the Reply and exhibit is warranted because the Reply and exhibit contains

certain witness-identifying information, which the Court has determined should remain under seal

at this time.

        WHEREFORE, Mr. Ravenell requests that the Court grant this Motion and place the Reply

in Support of the Motion for Disclosure of the Government’s Presentation to the Grand Jury Due

to Prosecutorial Misconduct and its attached exhibit under seal.



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September 24, 2021                  Respectfully submitted,

                                    SCHULTE ROTH & ZABEL LLP

                                       /s/ Aislinn Affinito
                                    ___________________________________________________________________

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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 24th day of September, 2021, I caused a copy of the Motion to

Seal and its Proposed Order to be made available to all counsel of record via ECF/PACER. True

and correct copies of the proposed sealed documents were emailed to all counsel of record.




                                                                   /s/ Aislinn Affinito
                                                            ___________________________________________________________________

                                                            Aislinn Affinito
                                                            Attorney for Kenneth Ravenell




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